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THELEN LLP
Attorney for Fifth Party Defendant
Materials Testing Lab, Inc.
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(212) 603-2000
Brian J. Markowitz (BM-9640)
Michael Chartan (MC-4609)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------x
WILLIAM A. GROSS CONSTRUCTION ASSOCIATES, INC.,

                                                                 Plaintiff, 07-CV-10639 (LAK)(AJP)

                                -against-
                                                                               RULE 7.1 DISCLOSURE
AMERICAN MANUFACTURERS MUTUAL INSURANCE                                        STATEMENT
COMPANY,

                                                                  Defendant.
-----------------------------------------------------------------------x
AMERICAN MANUFACTURERS MUTUAL INSURANCE
COMPANY,
                                                      Third-Party Plaintiff,

                                -against-

CAULDWELL WINGATE COMPANY, LLC,

                                                    Third-Party Defendant.
-----------------------------------------------------------------------x
CAULDWELL WINGAGE COMPANY, LLC,

                                                  Fourth-Party Plaintiff,

                                -against-

DORMITORY AUTHORITY OF THE STATE OF NEW
YORK,

                                                  Fourth-Party Defendant.
----------------------------------------------------------------------x

Captioned continued on next page




                                                                                                NY #1747040 v1
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-----------------------------------------------------------------------x
DORMITORY AUTHORITY OF THE STATE OF NEW
YORK,

                                                   Fifth-Party Plaintiff,

                                -against-

A. WILLIAMS TRUCKING & BACKHOE TRENCHING, INC.,
ASPRO MECHANICAL CONTRACTORS, INC., BEAUBOIS
CANADA, INC., BOVIS LEND LEASE LMB, INC., CNA
SURETY CORPORATION D/B/A AMERICAN CASUALTY
COMPANY OF READING, PA, DIERKS HEATING
COMPANY, INC., ENCLOS CORPORATION, FIVE STAR
ELECTRIC     CORPORATION,      FUTURE     TECH
CONSULTANTS OF NEW YORK, INC., HERITAGE AIR
SYSTEMS, INC., HUGH O’KANE ELECTRIC CO., LLC,
MATERIALS TESTING LAB, INC., PYRAMID FIRE
PROTECTION, INC., RAFAEL VINOLY ARCHITECTS P.C.,
SMI-OWEN STEEL COMPANY, INC., STONEWALL
CONTRACTING     CORPORATION,    TRACTEL   LTD.,
SWINGSTAGE DIVISION,

                                                   Fifth-Party Defendants.
-----------------------------------------------------------------------x

                  Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and to enable judges and

magistrate judges of the Court to evaluate possible disqualification or recusal, the undersigned counsel of

record for Fifth Party Defendant, Materials Testing Lab, Inc., certifies that Materials Testing Lab, Inc.

has no corporate parent and that no publicly held corporation owns 10% or more of Materials Testing

Lab, Inc.’s stock.

Dated: New York, New York
       September 12, 2008
                                                      THELEN LLP
                                                      Attorney for Fifth-Party Defendant, Materials Testing
                                                      Lab, Inc.
                                                      875 Third Avenue
                                                      New York, NY 10022
                                                      (212) 603-2083


                                                      By:      _S/ Brian J. Markowitz____________
                                                               BRIAN J. MARKOWITZ (BM-9640)




                                                          2                                      NY #1747040 v1
